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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Case no. 1:21-cr-312
        Plaintiff,                            )
                                              )
v.                                            )       UNOPPOSED MOTION TO MODIFY
                                              )       CONDITIONS OF PRETRIAL RELEASE
Bradley Bennett,                              )
                                              )
        Defendant.                            )

     DEFENDANTS MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

        COMES NOW the defendant, Brad Bennett, by and through undersigned counsel,

pursuant to 18 U.S.C. §3142 and Rule 12 of the Federal Rules of Criminal Procedure, and hereby

respectfully request that this honorable court to enter an order modifying his pretrial release

conditions by suspending the requirement of that he be subject to Stand Alone Monitoring with

GPS. In support of this motion the defendant states the following in support:


        1.      The defendant is on pretrial release and under the supervision of the U.S.

Probation and Pretrial Services Office for the Middle District of North Carolina.

        2.      The defendant has consulted with Probation officer, Danielle Cooke, who has

advised him to seek a court order to allow for termination of the Stand Alone Monitoring with

GPS.

        3.      The defendant is fully compliant with the conditions of his release.

        4.      The defendant now seeks modification of this Court’s order, specifically 7(p)(ii)

and 7(q)(iii)(iv).

        5.      The defendant respectfully requests that the Court modify the conditions of his

pretrial release by suspending the Stand Alone Monitoring with GPS requirement due to him

being self-employed as a Wellness Coach. Mr. Bennett provides wellness coaching

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approximately forty (40) plus hours a week. As a wellness coach, Mr. Bennett is required to

travel through the Charlotte area where he completes face-to-face visits for health and wellness

work. While on Stand Alone Monitoring, he is prohibited from working without restrictions.

       6.      The defendant is actively involved in Leadership Team Development through

Raleigh, North Carolina. Prior to Stand Alone monitoring he provided weekly mentorship

meetings.

       7.      The defendant has been prohibited from attending his church, Freedom House in

Concord, North Carolina, where before Stand Alone Monitoring, he attended regularly.

       8.      The Conditions of Release to Stand Alone Monitoring do allow for the Defendant

to leave home for employment and other activities; however, the Defendant is prohibited from

helping his family members in High Point and High Rock Lake, North Carolina who are in

needed of his assistance because of ongoing health and mobility issues.

       9.      The defendant has been prohibited from completing a home buying process

because of his inability to travel to Charlotte, North Carolina.

       10.     The defendant is suffering from multiple health conditions such as ongoing

dermatology needs, intestinal problems, and receiving psychological care all which require

treatment that he has been unable to receive because of Stand Alone Monitoring.


                                       KODNER WATKINS, LC



                                       By:___/s/ Albert S. Waktins______
                                           ALBERT S. WATKINS, LC DC#399625
                                           1200 S. Big Bend Blvd.
                                           St. Louis, MO 63117
                                           (314) 727-9111
                                           (314) 727-9110 Facsimile
                                           across@kwklaw.net


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                                  CERTIFICATE OF SERVICE
        Signature above is also certification that on September 9th, 2021 a true and correct copy of
the foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.




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